      Case 2:07-cr-00170-MCE Document 133 Filed 08/02/10 Page 1 of 3



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   CAROLYN K. DELANEY
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2798

 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )
                                   )         CR NO. S-07-289 LKK
11                  Plaintiff,     )         CR.No. S-07-170 LKK
                                   )         CR.No. S-07-428 LKK
12                                 )
               v.                  )         STIPULATION AND
13                                 )         ORDER RE STATUS CONFERENCE
                                   )
14   JUAN CAMACHO,                 )
                                   )
15                  Defendant.     )
     ______________________________)
16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Carolyn K. Delaney, Assistant
18
     United States Attorney, together with the defendant and his
19
     counsel, that the status conference currently scheduled for
20
     Tuesday, August 3, 2010, should be vacated; and a further status
21
     conference should be scheduled for Tuesday, September 21, 2010.
22
          It is further stipulated and agreed between the parties that
23
     the time under the Speedy Trial Act should be excluded from
24
     today’s date to September 21, 2010, under Local Code T4, Title 18,
25
     United States Code, Section 3161 (h)(8)(B)(iv), for continuity of
26
     counsel and defense preparation; and       Local Code T2, Title 18,
27
     United States Code, Section 3161 (h)(8)(B)(ii).        The Court
28

                                         1
      Case 2:07-cr-00170-MCE Document 133 Filed 08/02/10 Page 2 of 3



 1   specifically finds that the case is complex and that a

 2   continuance is necessary to give the defendant reasonable time to

 3   prepare for trial in this matter.       The Court finds that the ends

 4   of justice served by granting a continuance outweigh the best

 5   interest of the public and defendant in a speedy trial.

 6

 7   Dated: August 2, 2010                   Respectfully submitted,

 8                                           BENJAMIN B. WAGNER
                                             U.S. Attorney
 9
                                             /s/ Carolyn K. Delaney
10
                                             CAROLYN K. DELANEY
11                                           Assistant U.S. Attorney

12
     Dated: August 2, 2010                   /s/ J. Toney
13
                                             J. Toney
14                                           Attorney for Juan Camacho

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         2
      Case 2:07-cr-00170-MCE Document 133 Filed 08/02/10 Page 3 of 3



 1

 2

 3                                     ORDER

 4

 5   IT IS HEREBY ORDERED:      That the status conference set for August

 6   3, 2010 is VACATED; and a further status conference for September

 7   21, 2010 is scheduled. It is further ORDERED that the time under

 8   the Speedy Trial Act between today’s date and September 21, 2010,

 9   is excluded under Local Code T4, Title 18, United States Code,

10   Section 3161 (h)(8)(B)(iv), to give the defendant time to

11   adequately prepare and in the interests of justice; and Local Code

12   T2, Title 18, United States Code, Section 3161 (h)(8)(B)(ii).      The

13   Court specifically finds that the case is complex and that a

14   continuance is necessary to give the defendant reasonable time to

15   prepare for trial in this matter.       The Court finds that the ends

16   of justice served by granting a continuance outweigh the best

17   interest of the public and defendants in a speedy trial.

18
     Dated: August 2, 2010
19

20

21

22

23

24

25

26

27

28

                                         3
